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To:     Honorable Judge Walter Smith                                    i1I
From: Kenneth Eric Watson Reg. No. 60682-080                          NOV16            2015
                                                                   CLERK,   U.S.   0           C

      Re: Motion for time reduction.



       Here by Comes: Kenneth Eric Watson respectfully requesting                          2

level Downward Departure Based on New Law change.




                                             ./   enneth   EV'icWatson
                                               Reg. No.     60682-080
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                                                                      Co/U.S.Attorney
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